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May 25, 2021

Hon. Lorna G. Schofield, Judge
c/o Clerk of Court
500 Pearl Street
New York, NY 10007
No.: 1:18-cv-09936-LGS

RE: Patel v. Trump Corp. et al., No. 20-1513 (U.S.) now in Conference for June 10


Your Honor:

        On May 25, 2021, the United States Supreme Court docket for Doe v. The Trump Corp et al.,
No. 1:18-cv-09936-LGS (S.D.N.Y. 20__), appeal denied No. 20-1706 (2d Cir. 2020), pending
certiorari, Patel v. The Trump Corp. et al., No. 20-1513 (U.S. 202_) showed an update that it is
“DISTRIBUTED for Conference of 6/10/2021.” And, the “Waiver of right of respondent Trump
Corporation, et al. to respond [was] filed,” earlier, on May 14, 2021.

       I look forward to further proceedings.


Sincerely,




/s/ Raj Patel, J.D. Candidate, Notre Dame L. Sch. ‘21 or ‘22
• President/Student Body President, Student Gov’t Ass’n of Emory U., Inc. 13-14
• Student Body President, Brownsburg Cmty. Sch. Corp./President, Brownsburg High Sch. Student
Gov’t 09-10
• Rep. from the Notre Dame L. Sch. Student B. Ass’n to the Ind. St. B. Ass’n 17 (he/they/their)
             Case 1:18-cv-09936-LGS Document 307 Filed 05/25/21 Page 2 of 3

                                      CERTIFICATE OF SERVICE

I, Raj K. Patel, certify that I filed the preceding letter by e-mail, and I certify that I provided notice of
filing to all counsel of record listed below by e-mail:

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Dated: May 25, 2021
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                                   Respectfully submitted,



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                                   Pro se


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                                   Student Body President, Brownsburg Cmty. Sch.
                                          Corp./President, Brownsburg High Sch.
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                                   Rep. from the Notre Dame L. Sch. Student B. Ass’n
                                          to the Ind. St. B. Ass’n 2017
                                   Deputy Regional Director, Young Democrats of
                                          Am.-High Sch. Caucus 2008-2009
                                   Co-Founder & Vice Chair, Ind. High Sch.
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                                   Vice President of Fin. (Indep.), Oxford C.
                                          Republicans of Emory U., Inc. 2011-2012




k
